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                                          forthe
                            Southem D istrictofFlorida
                                                                    FSLED BY                              D .C .

 GEORGE LONGM ORE
            Plaintiff,                                                         82V 1g 221s
                                           Case N o:                           STEVFN M.C-tYFI#Mr.)FiEi
                                                                                CLERRU S DF  ST C'  Y
                                                                               SD OF91.A.i '
                                                                                           q'.LAUL),
 VS.



 CH A SE BA NK U SA N A
                  D efendant.




 COM PLAINT FOR VIOLATIONS O F THE TELEPHONE CONSUM ER PROTECTION
  ACT (TCPA)AND THE FLO RIDA CO NSUM ER COLLECTIOT PM CTICES ACT
                       FCCPA).FLA.STAT.:559
                                    JURISDICTION

       Thiscourthasjurisdictionunder15U.S.C j1692k(d),Fla.Stat.j47.051,and
       47U.S.C.j227(b)(3)and 28U.S.C j1331.TMscourthassupplementaljudsdiction
       overstatelaw claimspursuantto28U.S.C j1367.

    2. Allconditionsprecedentto the bringingofthisaction hasbeen perlbrm ed.



                                        PA RTIES

    3. ThePlaintiffinthislawsuitisGEORGE LONGM ORE,(hereinafterttplaintiff')anatural
       person,who residesin Browmd County,Florida,and isa ççconsumer''msthatterm is

       defined by 15U.S.C.j 1692a(3).
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   4. TheDefendantinthislawsuitisCHASE BANK USA NA (hereinafterE:CIIASE'')who
       conductsbusinessin Broward County,FL.and has offices at200 W hite Clay CenterDr.

       Newark,DE,19711andisaûtcreditor''asthatterm isdefinedby 15U.S.C.j 1692a(4).
    5. Defendantisauthorized to conductbusinessin the State ofFlorida.
    6. Defendantregularly usesthetelephonein abusinesswhich theprincipalpurposeisto

       offerorextend credit.
        D efendantregularly offersorextendscreditcreating adebtorto whom a debtisowned.

    8. Defendantisa ticreditor''asdefined in theFDCPA .



                                              VENUE
    9. Theocc= enceswhich gaveriseto thisaction occurred in Broward County,FL.and

        Plaintiffresidein Broward County,FL.


     10.VenueisproperinthtSouthem DistrictofFloridapmsuantto28U.S.C.j1391band

        FLA.Stat.j559.77.

                                FACTUAL ALLEGATIONS


     11.Thereisno established businessrelationship between Plaintiffand Defendant.

     12.Plaintiffhas notapplied forcreditw ith Defendant.

     13.Plaintiffhasnevergiven Defendantexpressed written consent,verbalconsentor
        electronic consentto be contacted by the useofautom atictelephone dialing equipm ent.

     14.Defendantisattempting to collectan alleged debtowed by Plaintiffs'son.

     l5.On August19,2016 Deftndanlbegan calling Plaintiffshom eteltphoneusing an

        tûautomated telephonedialing system''in an attemptto collectan alleged debt.

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    16.Defendantleftvoicemailson Plaintiffshom eanswering machine.
    17.Defendantcalled Plaintiff's hom e phone ***-***-1633 9 tim esand left9 voicem ails in

        an attem ptto collectan alleged debt.
    18.Beforeavoicem ailcan belefton Plaintitrshom etelephonethe person leaving the

        voicem ailM UST listen toa rtcorded greetingwhich states:tûYou havereached ***-***-

        1633.lfthisisan tt mergency''lcan be reached at***-***-1602.Thank You.''

    19.On Septem ber13,2016 Defendantbegan calling PlaintiffsttEm ergency''phonenum ber

        withoutexpressed written consent,expressed verbalconsentorelectronic consentusing

        an autom ated telephone dialing system .

    20.Defendantcalled Plaintifpsem ergency phone ***-***-1602 39 tim esand left1

        voicemailin an attem ptto collectan alleged debt.

    21.OnOctober18,2016PlaintiffspokewithDenzel(ID # V729458);acorporate
        representative forDefendant.

     22.Plaim iffaskedDenzel::tl'
                                low did CHASE obtain my em ergency phone number?''

     23.Denzelreplied:t'Yournum ber was W rongly U pdated into oursystem .''

     24.Plaintiffinform ed Denzelthathedoesnothaveanaccountwith Chaseand thattheonly

        way thatthey gothisem ergency phonenum berwasfrom getting itfrom the messagethat

        he leaveson hishom e answ ering m achine.

     25.DenzelthentransferredPlaintifftoSeniorServiceSpecialistFmnk(ID #1.37213).
     26.Frank inform ed Plaintiffthathe w ould inform CH A SE m anagem entto m itigate the

        circum stancesin an attemptto preventlegalaction.

     27.Frank infbrm ed Plaintiffthathe should geta response w ithin 48 hours.

     28.Chase nevercalled Plaintiffback.


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     29.On October23,2016 Plaintiffcalled Defendantand spokew ith SeniorService Specialist

        Patrieia(ID # D9531l9)in asecond attem ptto mitigatethecircum stances.
     30.Afterseveralminuteson thephonewith Patricia;herfinalresponse to m ewas:tr o what

        isbestforyou.''

    31.O n O ctober 25,2016 Plaintiff em ailed CEO ofChase Card Service G ordon Sm ith a

        K'
         NoticeofPending Lawsuit.''

    32.M r.Smith and no otherm emberofChaseresponded.

    33. On October26,2016 Plaintiffmailed Defendantvia FedEx Expresstrackingnumber

        777 5763 8989 atûNotice ofPending Lawsuif'.

    34.On October31,2016 Plaintiffemailed CEO ofJP M organ ChaseJamieDim on atlNotice

        ofPending Law suit.''

    35.M r.Dimon and nootherm em berofChaseresponded.




                                COLLECTION ACTIVITIES


    36.From September13,2016 untilOctober5,2016 DefendantsChase willfullyand

        knowingly called Plaintiff,GEORGE LONGM ORE,using an ktautomatictelephone

       dialing system ''in an attem ptto collectan alleged debtw ithoutexpressed w ritten consent

       no lessth% 39tim es.

    37.From Septem ber13,2016untilOctober5,2016 Chase willfully and knowingly called

       Plaintiff,George Longm oreon hisem ergency cellphoneusing an ttautom ated telephone

       dialing system''foranon emergency no lessthan 39 times.




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                                            SUM M ARY

    38.Alloftheabove- describedcollection com municationsmadeto Plaintiffby Defendant,

       and colledion employeesemployed by Defendant,werem adein violation ofnum erous

       and m ultiple provisions ofthe TCPA ,the FCCPA .


                                   C A U SE S O F AC TIO N

                                             CO UNT I

           VIOLATION OF TELEPHO NE CONSUM ER PROTECTION ACT
                         (TCPA)47 U.S.C.227b(1)(A)
    39.Plaintiffincorporatesby referenceallofthe above parar aphsofthiscom plaintasthough

       fully stated herein.

    40.Defendantcalled Plaintiffs'em ergency cellphone withoutpriorexpressed written

       eonsent39tim esfrom September13,2016 tmtilOctober5,2016 foranon em ergency

       PII& ose.

    41.DefendantwillfullyandknowinglyviolatedTCPA 47U.S.C.227b(1)(A)bymakingcalls
       (otherthanacallmadeforemergencypurposeormadewiththepriorexpressconsentof
       thecalled party)using any automatic telephone dialing system oran artilk ialor
       prerecorded voice.

    W herefore,PlaintiffdemandsjudgmentagainstCHASE BANK USA NA foracmal,
    statutory andpunitivedamages,and feesand cost,alongw ith any otherfurtherreliefasthe

    courtdeemsjustandproper,pttrmlantto 12U.S.C.51692k.

                                           COUNT 2

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            VIOLATION OF TELEPHO NE COM SUM ER PROTECTION ACT
                         (TCPA)47 U.S.C.227b(1)(A)(iii)
     44.Plaintiffincorporatesby reference a11oftheabove paragraphsofthiscom plaintas

     though fully stated herein.

     45.D efendantcalled Plaintiffs'em ergency cellphone w ithoutpriorexpressed written

     consent39tim esfrom September13,2016 untilOctober5,2016 foranon emergency

     Purpose.

     45.DefendantwillfullyandknowinglyviolatedTCPA 47U.S.C.227b(1)(A)(iii)by
     making callsto anytelephone numbermssigned to paging service,cellulartelephoneservice,

     specialized m obile radio service,orothercommon radio carrierservice,orany service for

     which thecalled party ischarged forthe call.

     W herefore,PlaintiffdemandsjudgmentagainstCHASE BANK USA NA foractual,
     stamtoryand punitivedamages,and feesand cost,along with any otherfurtherreliefasthe

     courtdeemsjustandproper,pursuantto 12U.S.C.jl692k.



                                            C-
                                             O VNT 3
  VIO LATION OF FLO RIDA CO NSUM ER COLLECTIO N PM CTICES ACT (FCCPA).
                            FLA.STAT.:559.72(7)

    46.PlaintiF incorporatesby referencea1lofthe aboveparagraphsofthiscom plaintasthough

        fully stated herein.

    47.Defendantcalled Plaintiff'semergency cellphoneswithoutpriorexpressedwritten

        consent39tim esfrom Septem ber13,2016 untilOctober5,2016.

    48.DefendantviolatedFCCPA,FLA.STATj559.72(7)bywillfullycommunicatewiththe
        debtororany m em berofher orhis fam ily w ith such frequency as can reasonably be

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       expected to harassthedebtororherorhisfam ily,orwillfully engage in otherconduct

       w hich can reasonably be expected to abuse orharass the debtor orany m em berofheror

       hisfnm ily.

  49.W herefore,PlaintiffdemandsjudgmentagainstCHASE BANK USA NA foracmal,
     statutory and ptm itive dam ages,and fees and cost,along w ith any otherfurtherreliefasthe

     courtdeemsjustandproper,pursuantto 12U.S.C.j1692k.


 W herefore,Plaintif: GeorgeLongmoredemandsjudgmentagainstCHASE BANK USA NA
 foractual,statutory and punitivedamages,and feesand cost,along with any otherfurtherrelief

 asthecourtdeemsjustandproper,pursuantto 12U.S.C.j1692k.




                                   REOUEST FOR IURY

 Plaintiffisentitledandherebyrequestsatrialbyjury


 Dated:Novemberlat/,2016                                   resp tful m'tted5
                                                                            /   -.


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